                                                                          Case 3:17-cv-00344-RCJ-VPC Document 20 Filed 01/24/18 Page 1 of 6


                                                                      1   COHEN|JOHNSON|PARKER|EDWARDS
                                                                          H. STAN JOHNSON, ESQ.
                                                                      2   Nevada Bar No. 00265
                                                                          sjohnson@cohenjohnson.com
                                                                      3
                                                                          375 East Warm Springs Road, Ste. 104
                                                                      4   Las Vegas, Nevada 89119
                                                                          Telephone: (702) 823-3500
                                                                      5   Facsimile: (702) 823-3400
                                                                          Attorneys for Plaintiff
                                                                      6
                                                                                                       UNITED STATES DISTRICT COURT
                                                                      7
                                                                                                              DISTRICT OF NEVADA
                                                                      8
                                                                          AM-GSR HOLDINGS, LLC., a Nevada limited                Case No.:   3:17-cv-344-RCJ-VPC
                                                                      9   liability company.
                                                                     10
                                                                                                           Plaintiff,
COHEN|JOHNSON|PARKER|EDWARDS




                                                                     11              vs.

                                                                     12   DARREN HUNG TRUONG, and FLAGSTAR
                                                                          BANK, FSB.
                                                                     13
                               (702) 823-3500 FAX: (702) 823-3400
                                255 E. Warm Springs Road, Ste. 100
                                     Las Vegas, Nevada 89119




                                                                     14                                    Defendants.

                                                                     15
                                                                                                AFFIDAVIT OF SERVICE BY PUBLICATION
                                                                     16

                                                                     17          NOTICE IS HEREBY GIVEN that service has been made, by publication, in accordance

                                                                     18   with this Court’s Order, dated October 23, 2017. Documents establishing proof of service by

                                                                     19   publication in California and Nevada are attached hereto, as Exhibits A and B, respectively.
                                                                     20          Dated this 24th day of January, 2018.
                                                                     21
                                                                                                                         COHEN|JOHNSON|PARKER|EDWARDS
                                                                     22

                                                                     23                                        By:       /s/ H. Stan Johnson
                                                                                                                         H. STAN JOHNSON, ESQ.
                                                                     24                                                  Nevada Bar No. 0265
                                                                     25                                                  375 E. Warm Springs Road, Suite 104
                                                                                                                         Las Vegas, Nevada 89119
                                                                     26                                                  Attorneys for Plaintiff

                                                                     27

                                                                     28
                                                                                                                        Page 1 of 2
                                                                          Case 3:17-cv-00344-RCJ-VPC Document 20 Filed 01/24/18 Page 2 of 6


                                                                      1                                      PROOF OF SERVICE

                                                                      2   CASE NAME:          AM-GSR Holdings, LLC v Truong, et al
                                                                          Court:              USDC Nevada
                                                                      3   Case No.:           3:17-cv-344-RCJ-VPC
                                                                      4
                                                                                On the date last written below, following document(s) was served as follows:
                                                                      5
                                                                                AFFIDAVIT OF SERVICE BY PUBLICATION
                                                                      6
                                                                          ____X____    by placing an original or true copy thereof in a sealed envelope, with sufficient
                                                                      7                postage affixed thereto, in the United States Mail, Las Vegas, Nevada and
                                                                                       addressed to:
                                                                      8
                                                                                       Darren Hung Truong
                                                                      9
                                                                                       P.O. Box 610444
                                                                     10                San Jose, CA 95161

                                                                                       by using the State Court’s CM/ECF Electronic Notification System addressed to:
COHEN|JOHNSON|PARKER|EDWARDS




                                                                     11   ____X____
                                                                     12                Brittany Wood
                                                                     13                usdistrict@klnevada.com
                               (702) 823-3500 FAX: (702) 823-3400
                                255 E. Warm Springs Road, Ste. 100




                                                                                       sowens@klnevada.com
                                     Las Vegas, Nevada 89119




                                                                     14                bwood@klnevada.com

                                                                     15                Aaron R. Maurice
                                                                                       sowens@klnevada.com
                                                                     16                usdistrict@klnevada.com
                                                                     17                bwood@klnevada.com
                                                                                       amaurice@klnevada.com
                                                                     18
                                                                          _________    by electronic email addressed to :
                                                                     19   _________    by personal or hand/delivery addressed to:
                                                                          _________    By facsimile (fax) addresses to:
                                                                     20   _________    by Federal *press/UPS or other overnight delivery addressed to:
                                                                     21
                                                                                       DATED the 24th day of January, 2018.
                                                                     22

                                                                     23                                              __/s/ Sarah Gondek ______________________
                                                                                                                     An employee of Cohen|Johnson|Parker|Edwards
                                                                     24

                                                                     25

                                                                     26
                                                                     27

                                                                     28
                                                                                                                   Page 1 of 2
Case 3:17-cv-00344-RCJ-VPC Document 20 Filed 01/24/18 Page 3 of 6




                  Exhibit A




                  Exhibit A
Case 3:17-cv-00344-RCJ-VPC Document 20 Filed 01/24/18 Page 4 of 6
Case 3:17-cv-00344-RCJ-VPC Document 20 Filed 01/24/18 Page 5 of 6




                  Exhibit B




                  Exhibit B
                    Case 3:17-cv-00344-RCJ-VPC Document 20 Filed 01/24/18 Page 6 of 6
AFFP
CV17-00170


Affidavit of Publication

STATE OF NEVADA }                                             SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
                                SS                            WASHOE COUNTY, NEVADA
COUNTY OF CLARK }
                                                              Case No.: CV17-00170 Dept. No.: VIII
                                                              AM-GSR HOLDINGS, LLC., a Nevada Limited Liability Company. Plaintiff,
                                                              vs. DARREN HUNG TRUONG, and SOMA FINANCIAL, INC Defendants.
                                                              SUMMONS - CIVIL
                                                              NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
I, Rosalie Qualls state:                                      WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN 20 DAYS.
                                                              READ THE INFORMATION BELOW. TO THE DEFENDANT(S): DARREN HUNG
That I am Assistant Operations Manager of the Nevada          TRUONG A civil Complaint has been filed by the Plaintiff(s) against you for relief set
Legal News, a daily newspaper of general circulation,         forth in the Complaint. Object of Action: This is a Complaint for Quiet Title. 1. If you
                                                              intend to defend this lawsuit, within 20 days after this Summons is served on you
printed and published in Las Vegas, Clark County,             exclusive of the day of service, you must do the following: a. File with the Clerk of
Nevada; that the publication, a copy of which is attached     this Court, whose address is shown below, a formal written response to the
hereto, was published in the said newspaper on the            Complaint in accordance with the rules of the Court, with the appropriate filing fee. b.
following dates:                                              Serve a copy of your response upon the attorney whose name and address is
                                                              shown below. 2. Unless you respond, your default will be entered upon application of
Dec 12, 2017                                                  the plaintiff and this Court may enter a judgment against you for the relief demanded
Dec 19, 2017                                                  in the Complaint, which could result in the taking of money or property or other relief
Dec 26, 2017                                                  requested in the Complaint. 3. If you intend to seek the advice of an attorney in this
                                                              matter, you should do so promptly so that your response may be filed on time. The
Jan 02, 2018                                                  State of Nevada, its political subdivisions, agencies, officers, employees, board
Jan 09, 2018                                                  members, commission members and legislators, each have 45 days after Service of
                                                              this Summons within which to file an Answer or other responsive pleading to the
                                                              Complaint. JACQUELINE BRYANT, CLERK OF THE COURT, By: UNKNOWN,
                                                              DEPUTY CLERK, Second Judicial District Court, 75 Court Street, Reno, Nevada
                                                              89501, Submitted by: H. STAN JOHNSON, ESQ., Nevada Bar No. 00265, COHEN-
That said newspaper was regularly issued and circulated       JOHNSON, LLC, sjohnson@cohenjohnson.com, 375 E Warm Springs, Suite 104,
on those dates. I declare under penalty of perjury that the   Las Vegas, NV 89119, Telephone: (702) 823-3500, Facsimile: (702) 823-3400,
foregoing is true and correct.                                Attorneys for Plaintiff
                                                              Published in Nevada Legal News
                                                              December 12, 19, 26, 2017, January 2, 9, 2018
DATED: Jan 09, 2018




Rosalie Qualls




04106100 00440068 (702) 823-3400




             COHEN-JOHNSON, PLLC
             255 E. WARM SPRINGS RD
             STE #100
             LAS VEGAS, NV 89119
